Case 1:05-cr-10055-.]DT Document 10 Filed 09/01/05 Page 1 of 2 PagelD 12

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UN|TED STATES OF AMER|CA,

Plaintiff,

 

V.
DERR|CK GOODMAN,

Defendant.

 

ORDER ON ARRA|GNl\/IENT

 

This cause came to be heard on August 30, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAl\/lE: Dianne Smothers
ADDRESS:

TELEPHONE.'

The defendant, through counsel, Waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.

',-/ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

 

U.S. l\/larshal. ""_
§§ /YH;MH:$ @J
S. THOl\/lAS ANDERSON
United States l\/lagistrate Judge
Charges; felon in possession of a firearm, etc.

Assistant U.S. Attorney assigned to case.' Powell

Ru|e 32 Was not Waived.

Defendant's age: § /)

This document entered on the docket sheet in compliance

with nme 55 and/or 32(b) r-"Rch on Oq 'OIQ 135

DISTRIC COUR - WESTRNE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10055 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

M. Dianne Smothers

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J ames W. PoWell

U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

